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         London, Delhi, Paris, Luxor, and Singapore, the University has considerable global
         reach. In addition, the University manages for the US Department of Energy two
         national laboratories: Argonne National Laboratory in Lemont, Illinois, and Fermi
         National Accelerator Laboratory in Batavia, Illinois.


         The University of Chicago has extensive expertise
         that it can leverage to support the Barack Obama
                                                                                                   The University
         Foundation’s efforts to plan, design, implement, and
         manage such a large-scale and highly visible project                                      of Chicago
         as the Barack Obama Presidential Center.                                                  will leverage
         The University has assembled a team of
         administrators, faculty members, and outside                                              its expertise
         consultants who will work with the Foundation. These                                      to support                                                Chicago Innovation Exchange opening event
         individuals will foster government and community
                                                                                                   development of
         relations and ensure that the project receives all                                                                                             1. An executive summary articulating the long-term strategic vision for the university, including its global footprint and
         required approvals. The University envisions numerous                                     the Presidential                                     	 vision, as well as any existing or projected expansion plans. Detail any complementary relationship with the project.

         opportunities for collaboration between programs                                          Center.                                                   The University of Chicago’s founding vision—to be one of the world’s great centers for inquiry and education and
                                                                                                                                                             to make a lasting impact through those activities—continues to inform its strategic priorities: to recruit, retain, and
         at the Presidential Center and University of Chicago
                                                                                                                                                             support the most talented students, staff, and scholars; to offer a distinctive education that prepares students for a
         faculty, students, and administrative offices.                                                                                                      variety of fields; to engage in research programs that are recognized among the world’s best; and to foster outward
                                                                                                                                                             engagement that ensures that the University’s education and research programs have an impact on local challenges
                                                                                                                                                             and global issues.
         Bringing the Presidential Center to Chicago’s South Side would be a transformative
                                                                                                                                                             Major investments in recent years are advancing the University on these fronts. The Institute for Molecular Engineering,
         opportunity for the local community, the city, and the state and create a highly
                                                                                                                                                             established in 2011, is helping to define a new academic discipline while tackling major problems such as creating
         visible cultural, economic, and educational anchor institution. In recent years, the                                                                and storing energy and providing access to clean water. The Neubauer Collegium for Culture and Society, now in its
                                                                                                                                                             second year, is exploring avenues of interdisciplinary humanistic inquiry. In 2013 the University opened the Center
         University’s orientation has become more outward-facing, and areas of strategic
                                                                                                                                                             for Care and Discovery, an expansive hospital facility designed to respond to innovations in patient care and clinical
         focus have included improving economic and educational opportunity for residents                                                                    research. The University is enhancing its traditional strengths in research and teaching by expanding the faculty and
                                                                                                                                                             making investments in the undergraduate student experience, including new residence halls and expanded internship
         of the South Side and city, addressing the challenges and opportunities of urban
                                                                                                                                                             opportunities. The Chicago Innovation Exchange, a new center supporting business start-up activities by University
         life through rigorous research and debate, finding evidence-based solutions to local                                                                faculty, students, and area entrepreneurs, will drive the creation of new ventures on the South Side. Major upcoming
                                                                                                                                                             capital projects include an innovative hub for collaboration called the Rubenstein Forum, a new facility for the Harris
         problems, and expanding the capacity of South Side business leaders.
                                                                                                                                                             School of Public Policy, a new residence hall complex on the northern edge of campus, and expanded development
                                                                                                                                                             on 53rd Street in Hyde Park. The University is constructing a new building for its charter school in Woodlawn and is
                                                                                                                                                             developing a number of spaces for artistic innovation on Garfield Boulevard in the Washington Park neighborhood.
         The University of Chicago stands ready to marshal its own administrative and
         academic resources, its diverse network of community partners, and its project                                                                      The vision of the University’s founding president, William Rainey Harper, has also driven the University to restructure
                                                                                                                                                             its approach to civic engagement programs around a specific question: What is the model for the relationship and
         planning experience to make the Obama Presidential Center a reality for Chicago’s
                                                                                                                                                             engagement of a great urban research university with the city around it? In early 2015, the University will announce a
         South Side and thereby help the President and First Lady realize their ambitions in                                                                 major new initiative to study the challenges of urban life and find evidence-based solutions to drive improved policies.
                                                                                                                                                             These Urban Labs, inspired by University research on crime and education that has led to successful interventions
         the area, city, nation, and world.
                                                                                                                                                             and improved the lives of young people, will organize researchers from diverse fields around those subjects, as well
                                                                                                                                                             as health, economics, and energy. Alongside these academic initiatives, the University’s Office of Civic Engagement
                                                                                                                                                             recently launched a new four-pronged strategic vision for community engagement: extending education to foster
                                                                                                                                                             leadership, service, and ideas; collaborating on research to transform cities through evidence; spurring innovation
                                                                                                                                                             through local and global enterprise; and anchoring neighborhoods as a partner for a stronger South Side.



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                                                                                                                                                       2. Biographies of administrators, faculty and staff assigned to the Project, including a summary of responsibilities and an
                                                                                                                                                       	 organizational chart indicating reporting relationships both internally and with appropriate personnel of the Foundation.


                                                                                                                                                           President Robert J. Zimmer and the University’s Board of Trustees oversee the University’s commitment to the Barack
                                                                                                                                                           Obama Presidential Center. A steering committee consisting of the University’s executive vice president, the vice president
                                                                                                                                                           for civic engagement, the vice president for communications, the vice president and general counsel, senior counsel
                                                                                                                                                           for University affiliations, the secretary of the University, and two senior advisors to the President are responsible for all
                                                                                                                                                           operational aspects of the project. A faculty committee provides input on academic issues related to the Presidential
                                                                                                                                                           Center. A group of administrative offices will support the ongoing development of the Presidential Center. These offices,
                                                                                                                                                           their roles in enabling the Presidential Center, and key personnel are outlined below.

                                                                                                                                                           CENTRAL ADMINISTRATION


                                                                                                                                                           Robert J. Zimmer, President
                                                                                                                                                           Robert J. Zimmer became president of University of Chicago in 2006. Prior to his appointment as president, Zimmer
                                                                                                                                                           was a University of Chicago faculty member and administrator for more than two decades. He served as chair of the
                                                                                                                                                           mathematics department, deputy provost, and vice president for research and for Argonne National Laboratory. He also
                                                                                                                                                           served as provost at Brown University from 2002 to 2006. He holds a bachelor’s degree from Brandeis University and a
        Panel discussion during the UChicago Center in Delhi opening celebration
                                                                                                                                                           master’s degree and PhD in mathematics from Harvard University.


                                                                                                                                                           David B. Fithian, Executive Vice President
         As a major economic anchor on the South Side, the University is committed to developing its community through                                     As the University’s executive vice president, David B. Fithian is the senior officer responsible for facilitating and
         a range of programs and investments. These efforts include major investments along 53rd Street, including a                                       implementing strategic initiatives that require significant central coordination. Before being named executive vice
         150,000-square-foot office tower, a hotel, a movie theater complex, and new retail stores and restaurants. Many of                                president, Fithian served as vice president and secretary of the University, responsible for promoting good governance
         these new businesses are owned by and employ South Side residents. This investment is ongoing and includes a new                                  practices and facilitating the work of the University’s Board of Trustees. Fithian received his bachelor’s degree from Clark
         apartment building with ground-floor retail space. A major initiative on Garfield Boulevard west of campus is working                             University and MA, MPhil, and PhD degrees in sociology from Yale University.
         to revitalize the area by spurring commercial development around arts and creative pursuits.
                                                                                                                                                           Susan S. Sher, Senior Advisor to the President of the University
         The University addresses issues on a global scale. Each year, the University enrolls more than 3,100 international                                Susan S. Sher is the principal executive managing the Barack Obama Presidential Center proposal process. Sher, a
         students from more than 100 countries. About 40 percent of students in the College study abroad as undergraduates.                                graduate of Loyola University Chicago School of Law and George Washington University, was a partner at the Chicago
         University students and faculty are engaged in hundreds of programs, initiatives, and partnerships in more than 38                                law firm Mayer Brown, served as the City’s Corporation Counsel, and held a number of legal and administrative roles at
         countries on every continent. Chicago alumni are leaders in business, government, science, education, and many                                    the University of Chicago before serving in the Obama administration. In 2009, she left the University to serve as special
         other fields all over the world. To facilitate faculty and student engagement around the world, the University operates                           assistant to the President and associate White House counsel. Later she became assistant to the President and chief of
         facilities in multiple countries. The University is also a founding partner in the Giant Magellan Telescope project in                            staff for the First Lady.
         Chile and is exploring additional strategies for deeper engagement in Latin America and elsewhere in the world. The
         Global Engagement Office collaborates with faculty, deans, and University administrators to develop new strategies for                            Katie Callow-Wright, Associate Vice President and Chief of Staff
         engagement in key regions.                                                                                                                        As associate vice president and chief of staff, Katie Callow-Wright is responsible for coordinating the work of the Office
                                                                                                                                                           of the Executive Vice President and the President of the University. She is responsible for developing and implementing
         The University of Chicago envisions a number of partnerships among University faculty, students, and offices, the                                 initiatives and establishing administrative objectives. Prior to assuming her current role, Callow–Wright served in several
         Presidential Center, and other institutions of higher eduction in the Chicago area, particularly around issues of                                 positions in the Office of Campus and Student Life at the University. She holds a BA from DePauw University and an MA
         education, leadership, democracy, international relations, urban life, community engagement, health and wellness, and                             from Bowling Green State University.
         economic development. These are areas in which the University is deeply involved and areas where the resources of
         the Presidential Center will support expanded engagement.                                                                                         David Chearo, Director of Strategic Projects
                                                                                                                                                           As director of strategic projects, David Chearo works collaboratively with faculty and staff at all levels of the University
         As a highly visible anchor institution on Chicago’s South Side, the Presidential Center will bring a diverse set of                               and with external partners to ensure the success of a broad range of projects and initiatives. Prior to joining the President’s
         resources to the network of partners working in these areas. The Presidential Center will draw visitors from all over the                         Office, Chearo directed the University’s Survey Lab. A former Sergeant in the US Marine Corps, he holds a bachelor’s degree
         world to Chicago, deepening the area’s reputation as a destination for visitors interested in history, education, science,                        from the University of Illinois at Urbana-Champaign and a master’s degree in social sciences from the University of Chicago.
         culture and arts, and supporting a diverse array of new retail, dining, and hospitality development. Major gatherings
         convened by the President and First Lady will bring high profile, influential visitors to the area. The archival resources                        John Mark Hansen, Charles L. Hutchinson Distinguished Service Professor, Department of Political Science,
         at the Presidential Center will support student and faculty scholarship around issues of American politics, policy,                               and Senior Advisor to the President of the University
         leadership, and international relations. The Presidential Center, the University, and other regional partners can work                            John Mark Hansen, a member of the University of Chicago’s faculty since 1986, studies and teaches American politics.
         together with the City to drive infrastructure and park improvements, support new investments, and encourage greater                              Hansen also served as dean of the Social Sciences Division from 2002 to 2012. In his capacity as senior advisor to the
         community participation by local residents.                                                                                                       president of the University, Hansen provides academic and faculty input for major University initiatives, particularly as they
                                                                                                                                                           pertain to the social sciences. He received a bachelor’s degree from the University of Kansas and a PhD from Yale University.

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         Alice J. McLean, Assistant Director of Special Projects                                                                                            OFFICE OF CIVIC ENGAGEMENT
         As assistant director of special projects since 2012, Alice J. McLean has managed the University’s response to the
         Foundation’s requests for qualifications and proposals and coordinates the University’s activities with the Barack                                 The University’s Office of Civic Engagement has worked to build an extensive network of community partners across
         Obama Foundation. McLean has worked for the University since 2008. Prior to her current role, she worked on the                                    the South Side and the city of Chicago to solicit input on the University’s response to the Foundation’s questions and
         University’s global initiatives and supported University President Robert J. Zimmer. She holds a bachelor’s degree from                            build a broad coalition of support for bringing the Presidential Center to the South Side. The civic engagement office
         Northwestern University and a master’s of public policy degree from the University of Chicago’s Harris School of Public                            expects to work with the Foundation to develop a long-range plan for programs, events, and ongoing activities in
         Policy.                                                                                                                                            conjunction with the interests and priorities of the President and First Lady.


                                                                                                                                                            Derek R. B. Douglas, Vice President for Civic Engagement
         FACULTY LEADERSHIP                                                                                                                                 As vice president for civic engagement, Derek R. B. Douglas leads the University’s local, national, and international
                                                                                                                                                            urban development and civic engagement efforts. Prior to joining the University in 2012, Douglas served on the White
         A group of University of Chicago faculty members has helped shape the vision and direction of the University’s                                     House Domestic Policy Council from 2009 through 2011 as special assistant to President Barack Obama, where he led
         response to the Barack Obama Foundation’s requests. A similar group of faculty, including University of Chicago                                    the DPC’s work on urban and metropolitan policy issues. He holds a bachelor’s degree from the University of Michigan
         faculty members and scholars from other Chicago-area universities, will be assembled to advise the Foundation on                                   and a law degree from Yale Law School.
         academic direction and collaboration going forward. Members of the faculty committee are:
                                                                                                                                                            Sonya Malunda, Senior Associate Vice President, Community Engagement
         Geoffrey R. Stone                                                                                                                                  Sonya Malunda has served in various civic and community affairs roles at the University of Chicago for more than
         Committee Chair, Edward H. Levi Distinguished Service Professor, Law School                                                                        15 years. She currently manages the Office of Civic Engagement’s portfolio of civic partnerships and is responsible
                                                                                                                                                            for local and state government relations, community and civic partnerships, and education outreach programs. Prior
         Andrew Abbott                                                                                                                                      to joining the University, Malunda was the first deputy commissioner of the City of Chicago Department of Housing
         Gustavus F. and Ann M. Swift Distinguished Service Professor, Department of Sociology and the College                                              and, before that, had a career in banking. Malunda holds a BA in economics from Spelman College and a master of
                                                                                                                                                            management degree from Northwestern University’s Kellogg Graduate School of Management.
         Shadi Bartsch-Zimmer
         Helen A. Regenstein Distinguished Service Professor, Department of Classics and the College                                                        William W. Towns, Associate Vice President, Neighborhood Initiatives
                                                                                                                                                            William W. Towns leads the Office of Civic Engagement’s Neighborhoods Initiatives team, which develops policies and
         Kerwin Charles                                                                                                                                     strategies that leverage the University’s strengths to revitalize communities by influencing economic growth, improving
         Edwin A. and Betty L. Bergman Distinguished Service Professor, Harris School of Public Policy                                                      health outcomes, and advancing campus developments that contribute to the vibrancy and sustainability of the
                                                                                                                                                            community. He holds a BA from Loyola University Chicago and an MBA from the University of Notre Dame’s Mendoza
         Cathy Cohen                                                                                                                                        School of Business, and he is an alumnus of executive education programs at Harvard University and the University of
         David and Mary Winton Green Professor, Department of Political Science and the College                                                             Wisconsin.

         Jonathan Lear
                                                                                                                                                            OFFICE OF COMMUNICATIONS
         John U. Nef Distinguished Service Professor, John U. Nef Committee on Social Thought, Department of Philosophy,
         and the College
                                                                                                                                                            The University of Chicago’s Office of Communications works through strategic outreach, authentic reporting, and
         Olufunmilayo I. Olopade                                                                                                                            creative media to illuminate and support the mission and many initiatives of the University. The office’s staff of more
         Walter L. Palmer Distinguished Service Professor, Medicine and Human Genetics                                                                      than 40 communications and marketing professionals is prepared to support the Foundation’s local public relations
                                                                                                                                                            and communications needs and to advise the Foundation on local firms to engage.
         Randal C. Picker
         James Parker Hall Distinguished Service Professor, Law School; Senior Advisor, Computation Institute                                               Julie A. Peterson, Vice President for Communications
                                                                                                                                                            Julie A. Peterson is responsible for strategically communicating the significant research and educational achievements
         Stephen M. Stigler                                                                                                                                 of the University of Chicago and the resulting innovations and impact on the city, the nation, and the world. She
         Ernest DeWitt Burton Distinguished Service Professor, Department of Statistics and the College                                                     oversees the University’s news office and creative communications group and works closely with communications staff
                                                                                                                                                            in administrative and academic units across the University. Prior to joining the University of Chicago, Peterson served
                                                                                                                                                            in senior communications roles at the University of Michigan and the University of Indiana. She holds a BA in journalism
                                                                                                                                                            from Indiana University Bloomington and an MBA from IU’s Kelley School of Business.


                                                                                                                                                            Nora Semel, Director of Communications for Visitor Experience and the Arts
                                                                                                                                                            Nora Semel develops and executes plans for external-facing strategic initiatives. Prior to joining the University, Semel
                                                                                                                                                            was the associate director of external affairs at the Guggenheim Museum and Foundation in New York. She received
                                                                                                                                                            a BS in marketing and a BA in art history from the University of Illinois at Urbana-Champaign and holds a professional
                                                                                                                                                            certificate in museum studies from Northwestern University.




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         GLOBAL ENGAGEMENT OFFICE


         Ian H. Solomon, Vice President for Global Engagement
         As vice president for global engagement, Ian H. Solomon supports the University’s growing number of international
         programs and partnerships, overseas centers and campuses, research collaborations, and global education
         opportunities. Solomon came to the University in 2013 from the World Bank Group, where he served as US Executive
         Director. Prior to that he worked as senior advisor to Treasury Secretary Timothy Geithner and legislative counsel to
         President Obama when he was a senator. He holds a BA from Harvard University and a JD from Yale University, where
         he served as associate dean of the Law School.


         OFFICE OF FACILITIES SERVICES


         The University’s Office of Facilities Services consists of more than 300 staff members with expertise in capital project
         planning, design and architecture, sustainability and LEED certification, and project delivery. The office has executed
         a number of complex and innovative development projects and is prepared to leverage this expertise and staff to
         support the development of the Presidential Center.


         Steven M. Wiesenthal, Senior Associate Vice President for Facilities and University Architect
         Steven M. Wiesenthal, a fellow at the American Institute of Architects, oversees the Office of Facilities Services and
         the University’s planning, design, construction, and facilities operations. Prior to coming to the University of Chicago,
         Wiesenthal served as associate vice chancellor and campus architect at the University of California, San Francisco. He
         holds both a bachelor of architecture and bachelor of arts in urban studies degrees from the University of Maryland
         and a master of liberal arts degree from the University of Pennsylvania.


         Alicia Murasaki, Assistant Vice President, Campus Design and Sustainability
         Alicia Murasaki oversees campus planning initiatives, with a focus on developing interconnected master plan layers
                                                                                                                                                               University of Chicago project team for the Barack Obama Presidential Center
         to guide short- and long-term growth strategies. Murasaki also heads the Office of Sustainability, which creates
         partnerships across campus to mitigate the University’s impact on the environment, raise the visibility of sustainability
         issues on campus, and advance intellectual debate and analysis on the critical environmental issues of our time. Before
         joining the University in 2008, she served as principal architect at Northwestern Memorial Hospital in downtown
         Chicago. She earned a bachelor’s degree in mathematics from Transylvania University and a master of architecture
         degree from the University of Oregon.


         Boyd Black, Assistant Vice President, Capital Project Delivery
         Under Boyd Black’s direction, the Capital Project Delivery group manages design and construction for the University.
         Black joined the University in 2008 after managing design and construction for eight years at the University of Illinois
         at Chicago. Boyd has more than 35 years of experience working in both the architecture and construction sides of the
         industry. He holds a bachelor’s degree in architecture from Iowa State University and master of management degree
         from Northwestern University’s Kellogg Graduate School of Management.




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                                                                     Individuals assigned to the Barack Obama Presidential Center project


                                                                                                                    President
                                                                                                                of the University
                                                                                                                Robert J. Zimmer




                                                                          SPECIAL PROJECTS
                     F A C U LT Y C O M M I T T E E                             TEAM                                                  C E N T R A L A D M I N I S T R AT I O N



                   Committee Chair, Edward H. Levi
                                                                                                                                                                              Vice President               Vice President               Vice President
                   Distinguished Service Professor,                          Senior Advisor                      Executive Vice President
                             Law School                                                                                                                                   for Civic Engagement          for Communications        for Global Engagement
                                                                              Susan Sher                             David B. Fithian
                         Geoffrey R. Stone                                                                                                                                 Derek R. B. Douglas            Julie A. Peterson            Ian H. Solomon



                                             Helen A. Regenstein                                                                 Senior Associate Vice                    Senior Associate           Director of Communications
     Gustavus F. and Ann M.
                                       Distinguished Service Professor,                           Associate Vice President
Distinguished Service Professor,
                                       Department of Classics and the        Senior Advisor                                     President for Facilities &               Vice President for             for Visitor Experience
   Department of Sociology                                                                           and Chief of Staff
                                         Program in Gender Studies           J. Mark Hansen                                       University Architect                 Community Engagement                  and the Arts
       Andrew Abbott                                                                                Katie Callow-Wright
                                          Shadi Bartsch-Zimmer                                                                     Steve Wiesenthal                        Sonya Malunda                     Nora Semel



 Edwin and Betty L. Bergman             David and Mary Winton Green                                                             Assistant Vice President,
                                                                            Assistant Director           Director of                                                  Assistant Vice President for
Distinguished Service Professor,           Professor, Department                                                                   Campus Design +
 Harris School of Public Policy              of Political Science           of Special Projects      Strategic Projects                                                Neighborhood Initiatives
                                                                                                                                      Sustainability
       Kerwin Charles                          Cathy Cohen                   Alice J. McLean           David Chearo                                                        William W. Towns
                                                                                                                                     Alicia Murasaki


John U. Nef Distinguished Service
                                       Walter L. Palmer Distinguished
 Professor, Committee on Social
                                       Service Professor, Medicine and
                                                                                                                                Assistant Vice President,
  Thought and Department of
            Philosophy
                                               Human Genetics                                                                   Capital Project Delivery
                                         Olufunmilayo I. Olopade                                                                       Boyd Black
        Jonathan Lear


                                            Ernest DeWitt Burton
James Parker Hall Distinguished        Distinguished Service Professor,
 Service Professor, Law School            Department of Statistics
                                               and the College
      Randal C. Picker
                                            Stephen M. Stigler




                                                                                                                                                                                                                                      Current as of November 2014
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  3. List of external consultants engaged by you in support of the Project. Please provide their qualifications,
  	 responsibilities and projected fee structure.


        The University of Chicago engaged a number of consultants to envision the Barack Obama Presidential Center. The
        University can advise the Foundation on these and other consultants to engage as the project moves forward.

        COMPANY/ORGANIZATION	            KEY PERSONNEL 	                                                   RESPONSIBILITIES

        ARCHITECTS
        Adjaye Associates	 David Adjaye, Founder and Principal Architect	                                  Conceptual design and
        		                                                                                                 architectural vision (MBE)

        Diller Scofidio + Renfro	        Liz Diller, Founding Partner and Principal Architect	             Conceptual design and
        	                                Richard Scofidio, Founding Partner and Principal Architect 	      architectural vision
        	                                Charles Renfro, Partner and Principal Architect	

        Studio Gang Architects	 Jeanne Gang, Founder and Principal Architect	                              Conceptual design and
        		                                                                                                 architectural vision (WBE)



        LEGAL		
        Sidley Austin LLP	               Thomas A. Cole, Partner	                                          Legal advice

        DLA Piper	                       Theodore Novak, Chair of Land Use, Development, 	                 Legal advice on land use
        	                                and Government Relations Practice	                                and zoning matters



        MASTER PLANNING
        Skidmore, Owings 	               Philip Enquist, Partner in Charge of Urban Design and Planning	   Planning, research, and
        & Merrill LLP	                   Jennifer Skowlund, Architect and Urban Designer	                  visual communications                                  South Side historian Timuel Black leads UChicago students on a tour of the South Side Community Art Center as part
                                                                                                                                                                  of the Civic Knowledge Project

        COMMUNITY ENGAGEMENT
        Tate & Associates, LLC	          Desiree Tate	                                                     Community engagement (M/WBE)                       4. Summary of any formal or community-based partnerships with the university that are relevant to the Project.
        High Style Marketing	            Jada Russell	                                                     Community engagement (M/WBE)
                                                                                                                                                                   In recent years, the University has expanded its approach to community engagement, aspiring to create a model for
        B Strong Communications	         Bill Strong	                                                      Community engagement
                                                                                                                                                                   engagement between a great urban research university and the global city it calls home. The University has cultivated
        ASGK Public Strategies	 Eric Sedler, Michael Organ, and Bryce Colquitt	                            Public affairs, community
                                                                                                                                                                   relationships with South Side and citywide community organizations, Chicago businesses, and City and State agencies.
        		                                                                                                 engagement, and digital engagement
                                                                                                                                                                   These partnerships reflect the diverse interests and pursuits of the University and the needs of the city, including
        Independent consultant	          Carol Adams	                                                      Community engagement (M/WBE)                            teaching and research, economic development, and health and wellness. They range from the research done in concert
                                                                                                                                                                   with Chicago Public Schools through the Urban Education Institute to the Chicago Innovation Exchange, a hub for
        Independent consultant	          Kunal Basu-Dutta	                                                 Digital engagement (MBE)
                                                                                                                                                                   multidisciplinary collaborations and support for business start-up activities located in the heart of Hyde Park on 53rd
                                                                                                                                                                   Street.
        GOLF COURSE DESIGN		
        Renaissance Golf Design	         Tom Doak, Golf Course Architect	                                  Golf course consultant
                                                                                                                                                                   University of Chicago faculty members, students, centers and institutes, and administrative offices maintain about 300
                                                                                                                                                                   partnerships throughout the community. Below are some of the largest partnership networks. Partnerships relevant for
        ENVIRONMENTAL ENGINEER                                                                                                                                     specific sites are outlined in Section C. Partnerships relevant for marketing and communications are outlined in Section
        Transsolar Inc.	 Erik Olsen, Managing Director and CEO	                                            Climate engineering, sustainability,                    E. A full inventory of University partnerships is included in the appendix.
        		                                                                                                 and energy conservation

                                                                                                                                                                   Museum Campus South
        ECONOMIC IMPACT ANALYSIS                                                                                                                                   Museum Campus South is a consortium of seven museums located in the heart of Chicago’s South Side, all of which are
        Anderson Economic Group	         Jason Horwitz, Consultant	                                        Economic impact analysis                                within walking distance of the University of Chicago. University institutions involved in the consortium are the Oriental
                                                                                                                                                                   Institute Museum, the Smart Museum of Art, the Renaissance Society, and the Reva and David Logan Center for the
        NARA CONSULTANT                                                                                                                                            Arts. Also included are the DuSable Museum of African American History, the Museum of Science and Industry, and
        National Archives and	           Nancy Kegan Smith, Former Director	                               Presidential records and                                Frank Lloyd Wright’s Robie House. These museums are linked through the interconnected South Side parks, including
        Records Administration 	         of Presidential Materials at NARA	                                archive management (WBE)                                Jackson Park and Washington Park. The Presidential Center will be a new anchor institution for this initiative, increasing
        (NARA Consultant)	
                                                                                                                                                                   the area’s draw and spurring greater connectivity among the institutions.

        SITE ASSESSMENT SPECIALISTS                                                                                                                                South East Chicago Commission
        Environmental Design International, Inc.	                                                          Environmental reports (W/MBE)
                                                                                                                                                                   Founded in 1952, the South East Chicago Commission is a community-based organization designed to enhance the
        Sam Schwartz Engineering D.P.C.		                                                                  Traffic studies                                         quality of life in Hyde Park, Woodlawn, Washington Park, Kenwood, and Oakland. The University of Chicago, the City of
        		                                                                                                 (38 percent MBE subcontracting)                         Chicago, and private donations fund the commission. The Presidential Center’s presence can spur further investment in
        Gremley & Bierdermann		                                                                            Land surveying                                          improving the quality of life. It can also engage in its own community development projects.



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         Neighborhood Schools Program                                                                                                                   5. Summary of the diversity of the university’s employees including demographic composition (e.g., race, gender)
         One of the University’s longest-standing community partnerships, the Neighborhood Schools Program creates                                      	  allocated by role (e.g., administrative board, secretarial, tenured faculty, associate faculty).
         engagement between the University and 50 South Side schools. The program matches University student interests
         with local school needs and creates opportunities for students and residents from neighboring communities to engage                                 The University of Chicago is committed to ensuring that our scholarly community is composed of a rich mix of
         with the University. The Presidential Center can partner with schools through this network to reach local students and                              individuals who, through their own distinctive viewpoints, contribute to the intellectually rigorous culture of the
         collaborate with University of Chicago students on educational outreach initiatives.                                                                University. In the past decade, the University has made dramatic improvements in undergraduate student diversity
                                                                                                                                                             through a number of initiatives, with the proportion of non-white undergraduates from the United States growing from
         Southside Arts and Humanities Network                                                                                                               29 percent in 2004 to 38 percent in 2012. While the University recognizes that there is still much work to be done in
         The Southside Arts and Humanities Network is a collection of more than 80 small and mid-sized arts and humanities                                   improving diversity—particularly the representation of certain races, ethnicities, and socioeconomic backgrounds—
         organizations based on the South Side of Chicago. The Network aims to leverage the intellectual, technological, volunteer,                          success at growing undergraduate diversity is evidence that interventions can work.
         and physical resources of the University and city to support these arts and humanities institutions. In collaboration with
         this Network, the Presidential Center can support expanded arts and humanities programming across the South Side.                                   Underrepresented minorities and women disproportionately leave the educational pipeline at every step of the process.
                                                                                                                                                             Finding ways to promote the advancement of these students and faculty members at every stage of the academic life
         America’s Urban Campus                                                                                                                              cycle—from early childhood education through graduate school and faculty positions—is a major goal of the University.
         America’s Urban Campus is a consortium of 17 Chicago-area higher education institutions—including Chicago State                                     Faculty and administrators remain committed to increasing the number of African American and Hispanic students
         University, Columbia College, and Roosevelt University—that work together and collaborate with government, civic,                                   who graduate high school; attend college, graduate school, and professional school; and receive faculty appointments
         business, and community partners on initiatives that will grow the city’s and region’s economy in sustainable ways.                                 at top universities around the world.

                                                                                                                                                             Underrepresented minorities make up roughly 14 percent of University of Chicago undergraduates from the United
         Civic Knowledge Project
                                                                                                                                                             States and roughly 11 percent of graduate students from the United States. Asian and Asian American students make
         The Civic Knowledge Project is the community connections branch of the University’s Division of the Humanities. The
                                                                                                                                                             up roughly 18 percent of the undergraduate student body and about 10 percent of graduate students. In the past 8
         Project works with community partners to provide a range of special programs around the humanities, including courses,
                                                                                                                                                             years, as the University has expanded its undergraduate enrollment by more than 1,000, it has increased the number of
         workshops, lectures, tours, and volunteer/internship opportunities for community members. The Project strives to
                                                                                                                                                             underrepresented minorities, holding the percentage constant, and increased the number of students of Asian descent.
         overcome social, economic, and racial divisions among the communities on the South Side through humanistic inquiry.
                                                                                                                                                             Over that time period, the University also increased the number of underrepresented minority graduate students.


                                                                                                                                                             Women make up roughly half of the undergraduate student population and about 40 percent of the graduate student
         A Community Vision                                                                                                                                  population.

         The legacy of the lives of the President and First Lady on the South Side of Chicago is an inspiration to members of the                            Underrepresented minorities make up about 6 percent of tenured or tenure-track faculty members from the United
         South Side community. Through community engagement initiatives, both in person and online, the University has heard                                 States, reflecting the pipeline problem and the intense competition for highly qualified underrepresented minority
         from thousands of South Side residents who want to see the Barack Obama Presidential Center on Chicago’s South Side.                                faculty members. This is double their representation compared to 10 years ago, reflecting the University’s significant
         The prospect of the Presidential Center has catalyzed a set of diverse organizations and individuals from the area around                           efforts to improve faculty diversity. Underrepresented minorities make up between 3 percent and 10 percent of faculty
         this proposal. These partners include arts and cultural organizations such as the DuSable Museum of African American                                members at most doctoral universities, according to the Chronicle of Higher Education.
         History and the Chicago Botanic Garden, local chambers of commerce, community and neighborhood associations, local
         schools, institutions of higher education, and many others. In early 2014, the University established a Community Advisory                          About a quarter of the University’s non-academic staff members are underrepresented minorities. About 30 percent of
         Board of prominent South Side leaders to advise the University and identify opportunities for strategic collaboration                               the University’s non-academic staff comes from the eight zip codes surrounding the University’s campus.
         around the Presidential Center.
                                                                                                                                                             About a quarter of tenured or tenure-track faculty members are women, an increase from 10 years ago. Women make
         Community Advisory Board Members:                                                                                                                   up more than 60 percent of non-academic staff.
         	         •	Carol L. Adams, President and CEO, DuSable Museum of African American History
         	         •	Timuel Black, historian, educator, and civil rights organizer                                                                           As you will read in Section A.6, the University has adopted a number of best practices and innovative programs over
         	         •	Byron T. Brazier, Pastor, Apostolic Church of God                                                                                       the past several years to increase minority representation on campus; educate students, faculty, and staff on the value
         	         •	Michelle L. Collins, President, Cambium LLC                                                                                             of diversity; and improve opportunities for underrepresented minority students to move through the academic pipeline
         	         •	Guy Comer, President, Comer Science and Education Foundation                                                                            and realize their academic goals.
         	         •	Walter E. Massey, President, School of the Art Institute of Chicago
         	         •	David R. Mosena, President and CEO, Museum of Science and Industry
         	         •	Shirley J. Newsome, President, South East Chicago Commission; Board Chair,
         		 Quad Communities Development Corporation
         	         •	Terry Peterson, Vice President of Corporate and External Affairs, Rush Medical Center
         	         •	Jim Reynolds, Jr., Chairman and CEO, Loop Capital
         	         •	David J. Vitale, Chairman, Urban Partnership Bank
         	         •	Andrea Zopp, President and CEO, Chicago Urban League




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                                                                                                                                                              Central Leadership on Diversity:
                                                                                                                                                              The Diversity Leadership Council and the Provost’s Office

                                                                                                                                                              Over the past decade, the University has created a number of central administrative positions to improve faculty and
                                                                                                                                                              staff diversity by coordinating initiatives across divisions, researching and recommending policies that work, and
                                                                                                                                                              studying major barriers faced by minority students and faculty members along the academic pipeline.
                                                                                                                                                              In 2007, the University created a Diversity Leadership Council of senior administrators from across the institution.
                                                                                                                                                              These leaders represent academic divisions, student affairs, external affairs, human resources, communications,
                                                                                                                                                              and the Office of the Provost. The council connects minority staff, faculty, and students; recognizes and celebrates
                                                                                                                                                              achievements in campus diversity; and hosts events and discussions to drive dialogue around issues of diversity and
                                                                                                                                                              inclusion. It also makes policy recommendations to improve the recruitment and retention of minority students and
                                                                                                                                                              staff members.


                                                                                                                                                              Alongside the Diversity Leadership Council, the deputy provost for research and minority issues and the
                                                                                                                                                              associate provost for diversity and inclusion, a new position, work closely with the University’s provost and central
                                                                                                                                                              administrators to provide University-wide leadership and direction for diversity and inclusion. The deputy provost for
                                                                                                                                                              research and minority issues also helps coordinate faculty recruitment efforts across the University.
           University of Chicago students


                                                                                                                                                              Creating a Diverse Student Body:
      6. Description of the university’s long-term diversity goals and the plan to achieve them.
                                                                                                                                                              No Barriers, Odyssey Scholarships, and UChicago Promise
           The University of Chicago is committed to improving diversity across all segments of the University, including
                                                                                                                                                              Announced in 2014, No Barriers is a comprehensive initiative designed to make the University more accessible to
           undergraduate and graduate students, faculty members, staff, trustees, and medical center personnel. It is also
                                                                                                                                                              students from disadvantaged backgrounds by replacing student loans with grants in all need-based financial aid
           committed to establishing a portfolio of diverse business partners and strengthening the community’s minority-
                                                                                                                                                              packages. Alongside that effort, the University is taking innovative steps to simplify the college application and
           and women-owned businesses.
                                                                                                                                                              financial aid process and will conduct more than 100 free information sessions nationwide on that process. Research
                                                                                                                                                              shows that many highly qualified low-income students are confused and frustrated by the college application
           The University of Chicago’s focus on academic promise and success means the University has long been an
                                                                                                                                                              process and as a result do not apply for selective colleges where they would likely thrive. No Barriers is an effort to
           intellectual home for individuals from a variety of backgrounds. Unlike many other top research universities,
                                                                                                                                                              simplify that process and encourage such students to attend selective colleges like the University of Chicago. The
           the University has always been open to women as well as men. In 1921, the University of Chicago became one
                                                                                                                                                              University will soon announce a major gift associated with the No Barriers initiative designed to fund scholarships for
           of the first US universities to award a doctorate to an African American woman. The University was among the
                                                                                                                                                              international and Hispanic students.
           first major non-historically black universities to tenure an African American faculty member. When other elite
           institutions systematically discriminated against Jewish students, the University refused to set quotas. The
                                                                                                                                                              The No Barriers initiative builds on two other successful admissions and financial aid programs. The first of these
           University has also recognized the importance of being open to students from a range of financial backgrounds,
                                                                                                                                                              programs, launched in 2008, is the Odyssey Scholarships, which replaced student loans with grants to help students
           and it has long been need-blind in admissions.
                                                                                                                                                              from low- and moderate-income families afford a University of Chicago education. Over time, the University has
                                                                                                                                                              expanded the resources available to Odyssey scholars. The program now provides enhanced academic, social,
           About 300 initiatives across the University focus on three related goals: increasing diversity on campus,
                                                                                                                                                              and career support to students who are the first in their families to attend college. Odyssey scholars are also now
           promoting the value of diversity and inclusion, and building a pipeline of diverse scholars and professionals for
                                                                                                                                                              guaranteed a paid internship after their first year to help them explore career opportunities. More than 1,100 Odyssey
           the future. These initiatives take place in every school, division, center, institute, and office at the University.
                                                                                                                                                              scholars now attend the College.
           Academic and administrative divisions have their own staff members who work to improve diversity. In recent
           years the University has established a number of central administrative positions and groups to coordinate these
                                                                                                                                                              UChicago Promise, launched in 2013, improves college access and readiness for Chicago high school students.
           actions and share best practices.
                                                                                                                                                              The program guarantees that students admitted to the University from Chicago schools—public or private—will
                                                                                                                                                              graduate debt free. The program also provides a range of support services for area students, such as mentoring and
           Below we focus on some recent prominent and comprehensive initiatives that have demonstrated a significant
                                                                                                                                                              applications training, and for area teachers and counselors. The Class of 2017 includes 73 students from the city of
           improvement in campus diversity. A comprehensive inventory of University diversity initiatives is included in the
                                                                                                                                                              Chicago, a 59 percent increase over the previous year. About 60 percent of these students are African American or
           appendix.
                                                                                                                                                              Hispanic.


                                                                                                                                                              We believe these initiatives, combined with other undergraduate and graduate admissions outreach programs,
                                                                                                                                                              make the University a leader in providing college access for diverse students with great academic promise and
                                                                                                                                                              great financial need. These initiatives have already led to a significant increase in the number of non-white students
                                                                                                                                                              in the undergraduate student body, and in coming years we believe they will greatly improve racial, ethnic, and
                                                                                                                                                              socioeconomic diversity on campus.




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         Promoting South Side and Diverse Businesses:                                                                                                   7. Description of the university’s level of expertise and success with work similar to the Project:

         Business Diversity and UChicago Local
                                                                                                                                                        	 i. Include detailed presentations of the most relevant projects demonstrating success in large-scale,
                                                                                                                                                        	  multi-use development.
         Recent initiatives through the Office of Business Diversity have significantly increased the diversity of the University’s
         suppliers and the ability of local minority- and women-owned businesses to compete for University contracts.                                       Over the past decade, the University of Chicago has invested about $2 billion in a range of major capital projects
                                                                                                                                                            totaling 4 million square feet. These projects are designed to enhance the academic environment, promote new
         The Office’s Direct Connect program links minority-owned businesses to the corresponding purchasing decision                                       educational opportunities, and support ongoing and new research initiatives. Bringing these projects from ideas to
         makers at the University. A two-day Professional Services Symposium gives University administrators a chance to                                    reality required the work of a large number of University leaders and staff from Facilities Services, Finance, Legal,
         meet with minority- and women-owned professional service providers. Over the past five years, the University has                                   Business Diversity, Civic Engagement, Government Relations, Campus and Student Life, and Alumni Relations and
         contracted with several professional service firms including investment management firms, executive search firms, and                              Development, as well as the leadership of the provost and deans, faculty members, students, and staff who will occupy
         legal service providers as a result of the symposium.                                                                                              the facilities. For each project, the University extensively engaged the local community, ensuring that their voices were
                                                                                                                                                            heard in the development process, that local firms and workers were engaged during construction, and that some
         UChicago Local, launched in early 2014, is a range of programs designed to connect South Side businesses and                                       economic and social benefits of the project accrued to the local community.
         residents to business opportunities at the University and the University Medical Center. These include forums to
         connect local businesses to UChicago purchasing offices; events to showcase businesses to students, staff, and                                     Below are select examples of relevant projects the University has undertaken in recent years:
         faculty members; and efforts to get University community members to buy local. Through the newly created Chicago
         Anchors for a Strong Economy program, the University will also link these businesses and individuals to other leading                              Harper Court/53rd Street
         institutions throughout the city, including other universities, corporations, hospitals, and cultural institutions.
                                                                                                                                                            One of the University’s most
         The University is also working to improve the diversity of its workforce on major capital projects. On such projects, the                          ambitious capital projects in recent
         University has greatly exceeded the goals it set for minority, women, and local representation among contractors and                               years has been the creation of
         workers. For example, about 100 minority- and women-owned businesses were contracted to help in the construction                                   Harper Court at the corner of 53rd
         of University of Chicago Medicine’s new Center for Care and Discovery, which opened in 2013. Forty-eight percent of                                Street and Lake Park Avenue and
         contracts went to minority- or women-owned businesses. A total of 2,755 people were employed over the course of                                    the broader redevelopment efforts
         the four-year construction project, roughly 42 percent of whom were minority and women construction workers. For                                   on Hyde Park’s 53rd Street. The
         the Harper Court development project on 53rd Street, more than 28 percent of the project costs were engaged with                                   project included a decade-long
         minority- and women-owned businesses.                                                                                                              process of working with a number
                                                                                                                                                            of City agencies on public-private
         Campus Life:                                                                                                                                       partnerships, fostering public
         Programs Promote Diversity and Inclusion and Provide Support for Minority Students                                                                 support for the development,
                                                                                                                                                            and recruiting new businesses to
         The University recognizes that an important part of recruiting and retaining top minority students, faculty, and staff                             occupy the spaces created by the
         is creating an environment where they feel supported and welcome. The University runs a number of programs to                                      project. The project’s development
         promote the values of diversity and inclusion and provide support services to minority students, staff, and faculty                                reflects the University’s expanded
         members.                                                                                                                                           engagement with the surrounding
                                                                                                                                                            community and its ongoing effort to
         The University’s Office of LGBTQ (Lesbian, Gay, Bisexual, Transgender, and Queer) Student Life and the Office of                                   serve as an economic anchor for the
         Multicultural Student Affairs—collectively referred to as “5710” in reference to the address of the building that houses                           Mid–South Side.
         them—are designed to enhance the overall campus experience for students of color and LGBTQ students, as well as
         serve as a vibrant hub for students to congregate, join in programming and community building, and work closely                                    The cornerstone of the 53rd Street redevelopment is Harper Court, a two-phase, 1.1 million-square-feet mixed-use
         with University staff. In addition to student support services, 5710 provides meeting and lounge space and resource                                development. The project includes commercial space, a hotel, residential units, University of Chicago administrative
         collections for student programs designed to foster community, integrity, respect, innovation, advocacy, truth,                                    offices, and 53,000 square feet of ground floor retail space. New construction on 53rd Street is estimated to have
         empowerment, and freedom.                                                                                                                          generated about 700 construction jobs.


         To encourage underrepresented minority students to pursue graduate and professional education, the University                                      The project has resulted in a vibrant new retail, commercial, and entertainment district. The development has ushered
         participates in the Leadership Alliance, a consortium of 32 institutions of higher education whose goal is to develop                              in a range of new retail, dining, and entertainment options to the area, including several businesses owned by
         underrepresented students into leaders for academia, business, and the public sector by providing summer research                                  minorities, women, and local residents. Annual adjusted retail sales increased 26 percent between 2013 and 2014. The
         opportunities. Participants are trained, mentored, and integrated into ongoing research projects, and they gain                                    project has created hundreds of new permanent jobs. The University is now planning a second mixed-use space at
         experience presenting research.                                                                                                                    1330 East 53rd Street, which will include rental housing and 30,000 square feet of retail space.




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         Reva and David Logan Center for the Arts and Campus South Development                                                                              Earl Shapiro Hall

                                                                                                                                                            Designed by Valerio Dewalt Train
         Designed by Tod Williams Billie
                                                                                                                                                            Associates, with FGM Architects, the
         Tsien Architects and completed in
                                                                                                                                                            $52 million, three-story Earl Shapiro
         2012, the Reva and David Logan
                                                                                                                                                            Hall is home to the Laboratory
         Center for the Arts is a hub for arts
                                                                                                                                                            Schools’ early childhood education
         on the University’s campus and
                                                                                                                                                            programs. Founded in 1896 by
         on the South Side of Chicago. The
                                                                                                                                                            educational reformer John Dewey,
         11-story, $114 million building offers
                                                                                                                                                            the Laboratory Schools at the
         184,000 square feet of multi-use
                                                                                                                                                            University of Chicago continue to
         space for arts and scholarship.
                                                                                                                                                            be a leader of education excellence
         The Logan Center includes a café,
                                                                                                                                                            in the country. The 128,000 square-
         study lounges, a performance hall,
                                                                                                                                                            foot Earl Shapiro Hall has most
         a film screening room, seminar-
                                                                                                                                                            of the programmatic elements of
         style classrooms, and other facilities
                                                                                                                                                            a freestanding school building.
         to support the work of students,
                                                                                                                                                            In addition to classrooms, art
         faculty members, visiting artists and
                                                                                                                                                            and music rooms, a library, and a
         scholars, and community partners.
                                                                                                                                                            gymnasium, the building also has
         During the 2013-2014 academic year,
                                                                                                                                                            full administrative offices, counseling
         the Logan Center attracted more
                                                                                                                                                            offices, and learning labs. Among
         than 100,000 visitors, held more than
                                                                                                                                                            the facility’s innovations is the
         650 classes, showcased more than
                                                                                                                                                            incorporation of outdoor courtyards and learning labs adjacent to the classrooms. By creating Earl Shapiro Hall, the
         550 performances and events, and collaborated with more than 60 community partners.
                                                                                                                                                            University was able to expand enrollment in the Laboratory Schools, increasing the number of local residents enrolled
                                                                                                                                                            and improving diversity.
         The Logan Center is part of a broader redevelopment plan for the University’s property south of the Midway Plaisance,
         including several residence halls and dining facilities. These buildings have been designed with public facilities and
         open spaces, as well as additional south-facing entrances to be more welcoming to Woodlawn residents. They will
         soon be joined by the David M. Rubenstein Forum, an innovative facility for conferences and other forms of academic                                Center for Care and Discovery
         collaboration.
                                                                                                                                                            The Center for Care and Discovery,
                                                                                                                                                            designed by Rafael Viñoly and
                                                                                                                                                            completed in 2012, is the largest
         Campus North Residence Hall
                                                                                                                                                            building on campus, with more than
                                                                                                                                                            1 million square feet, and the largest
         Designed by Studio Gang Architects
                                                                                                                                                            single investment in health care
         and located on the northern edge of
                                                                                                                                                            on the South Side of Chicago. The
         campus, the under-construction 800-
                                                                                                                                                            $700 million center is designed to
         bed Campus North Residence Hall
                                                                                                                                                            be a “hospital of the future,” with
         and Dining Commons will advance
                                                                                                                                                            a modular floor plan that allows
         the University’s commitment to
                                                                                                                                                            any given section to change shape
         strengthening the quality of campus
                                                                                                                                                            to accommodate changing needs
         life and building community across
                                                                                                                                                            without altering the structure’s basic
         campus more broadly. The $155
                                                                                                                                                            framework. It includes several dining
         million, 384,000-square-foot building
                                                                                                                                                            options with a focus on fresh, local
         will include retail space to generate
                                                                                                                                                            products from local and minority
         new commercial activity on 55th
                                                                                                                                                            vendors. Construction of the facility
         Street and open space to link the
                                                                                                                                                            employed more than 2,700 workers over four years, including many local residents. About 48 percent of contracts
         northern blocks of the campus to
                                                                                                                                                            went to minority- and women-owned businesses and 42 percent of the workers were minorities or women.
         the greater Hyde Park community.
         The project is designed to reflect the
         University’s ongoing commitment
         to creating an unrivaled campus life
         and student experience, as well as
         enhance its deep connections to the
         surrounding urban area.




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         Joe and Rika Mansueto
         Library

         Designed by Murphy/Jahn and
         opened in 2011, the Joe and Rika
         Mansueto Library is the latest
         addition to the University’s library
         system. The groundbreaking design
         of the $80 million library provides
         study space with its grand reading
         room and private study carrels.
         The library can store millions of
         volumes in an underground space
         more than 50 feet deep and uses
         an automated retrieval system to
         deliver them to the surface within
         minutes of their request. The elliptical
         glass dome structure has received
         many architecture awards since its
         completion, including the Distinguished Building Award from the American Institute of Architects’ Chicago Chapter.
         The facility reflects the strong desire of University faculty members to keep the University library’s resources on
         campus while still creating spaces for study and collaboration.




                                                                                                                                                                                                          B . SI T E A N D DEVELO P M EN T
         ii. Emphasize developments where the proposed team members have worked together and had primary
         	 involvement in leading the project.




                                                                                                                                                                                     I N FO RM AT I O N
         As President since 2006, Robert J. Zimmer has overseen the development of all of the projects listed above. Staff in
         the University’s Office of the President, as well as staff in the Facilities Services, Communications, Civic Engagement,
         and Legal offices have all played active roles in shaping these facilities. Hundreds of faculty members, students, staff,
         and community members provided input on design and programming.


         With regard to the 53rd Street redevelopment, Senior Associate Vice President for Facilities and University Architect
         Steven Wiesenthal and Alicia Murasaki, assistant vice president, campus design and sustainability, conducted design
         reviews while Assistant Vice President Boyd Black and his Capital Project Delivery (CPD) team handled implementation
         of interior build outs of the main office building. Julie Peterson, Derek Douglas, and Sonya Malunda oversaw
         communication and community engagement efforts.


         With regard to the development of the Laboratory School’s Earl Shapiro Hall, Wiesenthal and Murasaki both oversaw
         planning, design concepts and design reviews, while Black and his CPD team oversaw project management and
         implementation at all stages of construction. The Office of Civic Engagement oversaw collaborative efforts to engage
         the community.


         Each member of the leadership team is also performing the same or similar functions for the ongoing development of
         the new Campus North Residence Hall & Dining Commons project. David Fithian, Katie Callow-Wright, David Chearo,
         and the Office of Civic Engagement have all been deeply involved in the project.


         With regard to the Reva and David Logan Center for the Arts and the Joe and Rika Mansueto Library, Wiesenthal
         oversaw design direction while Black and his team ran implementation. Julie Peterson and Nora Semel oversaw
         communications for the project and Sonya Malunda worked on community outreach.




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                                                          Illustration of the 1893 World’s Columbian Exposition looking west from Jackson Park to the Ferris Wheel
                                                          on the Midway Plaisance




                                                          B. Site and Development
                                                             Information
                                                          In 1871, Frederick Law Olmsted and Calvert Vaux designed a park that stretched
                                                          southeast from 51st Street and what was then Grand Boulevard to 67th Street and
                                                          the shore of Lake Michigan—the South Park. The vision for the park, like New York’s
                                                          Central Park, was to create a refuge from the stress of city life and a democratic
                                                          place where people of all backgrounds could gather and interact. Olmsted and
                                                          Vaux’s vision has become a reality over time with the creation of Washington Park,
                                                          the Midway Plaisance, Jackson Park, and the lakefront. These parks represent the
                                                          heart of the Mid–South Side and have been shaped by the area’s major historical
                                                          events, including the 1893 World’s Columbian Exposition, the founding of the
                                                          University of Chicago, demographic transitions, and both good and bad economic
                                                          times.
                                                                                                                                                      Continues on next page



                                                                                                                                                                          47
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B . S I T E A N D D E V E L O P M E N T I N F O R M AT I O N                                                                                                                                                              B . S I T E A N D D E V E L O P M E N T I N F O R M AT I O N




      Today these parks host some of                                                                                                                        Overview of Parkland Development Process
      the South Side’s most prominent                                                                                                                       Throughout the process of developing this proposal, the University of Chicago has engaged in ongoing conversations
      cultural institutions: the Museum of                                                                                                                  with the Barack Obama Foundation, the City of Chicago, the Chicago Park District, and relevant stakeholder groups in
                                                                                                                                                            the community to ensure that the Foundation will be free to develop whichever site the President and First Lady select.
      Science and Industry, the DuSable                                                                                                                     These conversations are ongoing and the process outlined in this overview will be refined based on new agreements.
      Museum of African American History,
                                                                                                                                                            Because so many of Chicago’s museums and cultural facilities are located on parkland, there is a well established
      the University of Chicago, and the                                                                                                                    structure for the relationship between those institutions and the Chicago Park District and an accepted process for
      South Shore Cultural Center. Annual                                                                                                                   the Park District to approve the use of land for these purposes. This process would accommodate the Barack Obama
                                                                                                                                                            Presidential Center and its various components, including an archive, museum, institute, and Foundation offices. For
      festivals, parades, and recreational                                                                                                                  the Woodlawn and South Shore sites, which would be located entirely on parkland, this is the structure and process
      events bring millions of visitors to                                                                                                                  that the Barack Obama Foundation, with assistance from the University of Chicago, would take to gain approval for
                                                                                                                                                            the Presidential Center. For the Washington Park site, we would expect the portion of the site on parkland to undergo
      these parks each summer. The Bud                                                                                                                      the same process. A separate process would be required to develop the portion of the site currently owned by the
      Billiken Day Parade alone brings 1.5                                                                                                                  University of Chicago, the City of Chicago, and the Chicago Transit Authority.

      million marchers and spectators to                                                                                                                    The following sections outline the details of each site and site-specific process details. This overview broadly describes
      Washington Park each summer.                                  Osaka Garden in Jackson Park                                                            the Chicago Park District structure and process that would likely govern the Woodlawn and South Shore sites and part
                                                                                                                                                            of the Washington Park site. It also summarizes applicable property tax and zoning provisions.


      As a new major cultural and educational destination and the archive a historic                                                                        The Chicago Park District has a long history of granting effective and enforceable property rights for the construction
                                                                                                                                                            and operation of Chicago’s museums on Park District property through what are known as “use agreements.” These
      American president, the Barack Obama Presidential Center should join these major                                                                      agreements, which govern the use of land owned by the Park District, are perpetual or extend for very long terms.
      institutions in this South Park system.
                                                                                                                                                            We would expect the Foundation to enter into such an agreement with the Park District for the use of the land either
                                                                                                                                                            directly or jointly with the National Archives and Records Administration. This agreement would likely address the
      Chicago’s motto is “Urbs in horto,” city in a garden, and many of the city’s great cultural                                                           topics found in a traditional ground lease, including requirements for construction, Chicago Park District approval of
                                                                                                                                                            final design, responsibility for environmental remediation, and legal and insurance protections for the Park District.
      institutions sit in parks. The Museum Campus institutions—the Field Museum, the
      Shedd Aquarium, and the Adler Planetarium—as well as the Art Institute, the Chicago                                                                   Because the process of locating museums and other cultural institutions on parkland is well established, property
                                                                                                                                                            tax and zoning issues are also settled. The operation of historical museums and libraries on Park District property
      History Museum, and others, take full advantage of the city’s open spaces and give                                                                    is specifically authorized by Illinois law, and neither the federal government’s participation nor the Foundation’s
      the city a distinct identity. The parkland surrounding these institutions provides an                                                                 operations of the Presidential Center’s ancillary facilities—including administrative offices, education and research
                                                                                                                                                            facilities, and incidental food service or retail areas—should affect the Park District’s existing property tax exemptions.
      opportunity for inspiration and gathering. The park setting gives each institution a
      sense of majesty, a connection to outdoors and open space, and a connection to the                                                                    The Presidential Center outlined in this proposal would also be permitted under current zoning, subject to review and
                                                                                                                                                            approval as a planned development under the Chicago Zoning Ordinance and, with respect to the Woodlawn and
      city’s other institutions.                                                                                                                            South Shore sites, as new construction under the Lake Michigan and Chicago Lakefront Protection Ordinance. The Park
                                                                                                                                                            District properties are zoned “POS-1 Parks and Open Space.” This zoning permits the proposed uses of the Presidential
                                                                                                                                                            Center as part of the “Cultural Exhibits and Libraries” classification.
      It also gives each institution a sense of independence from the bustle of city life.
      Locating the Presidential Center in the South Park system would make it a true                                                                        Negotiating a use agreement with the Park District, securing approval of the use agreement by the Park District
                                                                                                                                                            Board of Commissioners, and securing Plan Commission and City Council land use approval can all be undertaken
      destination for visitors from both near and far. The park setting would give the                                                                      concurrently and can be accomplished in about 60 days following issuance of a preliminary design for the Presidential
      Presidential Center a sense of grandeur, close to but set apart from the city grid.                                                                   Center. It is also expected that any required University, City, and CTA land transfer approvals related to the Washington
                                                                                                                                                            Park site can also occur within this time frame.
      Each of the three proposed sites would be physically linked to the other major
      cultural institutions on the South Side and symbolically linked to the city’s other great                                                             The University is in active discussions with the City and the Chicago Park District to establish a park-positive plan for
                                                                                                                                                            each site that would generate new parkland to more than compensate for park space occupied by the Presidential
      museums. The space afforded by the parkland would keep the Presidential Center                                                                        Center.
      accessible while giving the Foundation an additional resource for events, health and
      wellness programs, and community gardening.



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                                                                                                                                                                                      WAS H INGTON
                                                                                                                                                                               PARK
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B . S I T E A N D D E V E L O P M E N T I N F O R M AT I O N                                                                                                                                                              B . S I T E A N D D E V E L O P M E N T I N F O R M AT I O N




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                                                                                                                                                        1. Provide the following with respect to the site(s) under consideration:


                                                                                                                                                             i. Existing title reports of the proposed site(s), together with documents specified therein.

                                                                                                                                                             The title commitment for the proposed site includes a legal description that is larger than the proposed site,
                                                                                                                                                             due to the fact that a portion of the proposed site is on Park District land that has not yet been separately
                                                                                                                                                             demised. Therefore, the proposed site may be subject to fewer exceptions than are currently shown in the
                                                                                                                                                             attached title commitment.


                                                                                                                                                             Title reports are included in the appendix.



                                                                                                                                                             ii. Existing ALTA plat of survey with clearly delineated easements, flood zones and/or designated
                                                                                                                                                             	wetlands.

                                                                                                                                                             ALTA plats of survey are included in the appendix.



                                                                                                                                                             iii. Existing environmental reports including, but not limited to, phase I and phase II reports, No Further
                                                                                                                                                             	  Action Letters, geotechnical studies and topographic maps.

                                                                                                                                                             The University of Chicago commissioned Environmental Design International (EDI) to perform a phase I
                                                                                                                                                             environmental site assessment of the Washington Park site. Their analysis was supplemented by two earlier
                                                                                                                                                             phase I environmental site assessments conducted in 2008 and 2011. EDI found that the soils at the CTA
                                                                                                                                                             parking lot along S. Calumet Avenue would not meet the requirements of uncontaminated soil for disposal.
                                                                                                                                                             The gas tanks, filling station, and auto garages on East Garfield Boulevard are also an environmental issue for
                                                                                                                                                             development. EDI found no other major environmental issues for developing the proposed site.


                                                                                                                                                             The full phase I environmental site assessments are included in the appendix.



                                                                                                                                                             iv. Plan for land assembly, including anticipated costs for preparing the site for development
                                                                                                                                                             	  (e.g., remediation, demolition of existing structures).

                                                                                                                                                             Preparing the Washington Park site development would require demolition of the filling station and auto
                                                                                                                                                             garages on East Garfield Boulevard and remediation of the underground gas tanks at that site, as well as
                                                                                                                                                             remediation of the soil at the parking lot on South Calumet Avenue.


                                                                                                                                                             University of Chicago Facilities Services estimated that the demolition of the filling station and auto garage
                                                                                                                                                             and the remediation of the five underground gas tanks on East Garfield Boulevard would likely take about five
                                                                                                                                                             months and cost about $220,000. Facilities Services based these estimates on a similar process on 53rd Street
                                                                                                                                                             that removed four gas tanks.


                                                                                                                                                             Remediation of the contaminated soil requires removal and transport to a special disposal facility. The
                                                                                                                                                             University will work with the Foundation to develop a process that meets local, state, and federal guidelines
                                                                                                                                                             to identify and properly dispose of the contaminated soils prior to development. The cost of removing the
                                                                                                                                                             contaminated soil depends on the total amount of soil.




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         v. Circulation and traffic study highlighting how the Project will interact with existing uses, facilities                                         viii. Analysis as to whether the proposed use of the site(s) will be taxable. If so, please specify the taxes to be
         	 and the neighborhood. Include information regarding ingress/egress and traffic mitigation.                                                       	     imposed.

         The University of Chicago commissioned Sam Schwartz Engineering, DPC, to evaluate the impact on traffic of the                                     We do not expect that the Presidential Center’s facilities—including a library, museum, institute, and Foundation offices,
         proposed Presidential Center at the Washington Park site. Sam Schwartz Engineering concluded that the existing                                     as well as a broader campus on which those facilities are situated—will incur a property tax liability.
         streets and intersections could accommodate the additional traffic generated by the Presidential Center without
         adding significant delay.                                                                                                                          As outlined in the overview of the parkland development process, museums located within Chicago Park District
                                                                                                                                                            property typically enter into a use agreement with the Park District to grant the museum or operating charitable entity
         The study recommends changes in the roads through Washington Park to improve safety and operations of the                                          long-term or perpetual right to occupy the facilities once constructed. These use agreements historically have not
         nearby intersections. They recommend that Ellsworth Drive between Garfield Boulevard and 51st Street be vacated                                    affected the property tax exemption of Park District property.
         and considered as a secondary access for handicap parking, taxis, tour buses, and service vehicles. They also
         recommend reducing lane width on the roads through Washington Park to slow traffic and improve safety.
                                                                                                                                                            ix. Current zoning applicable to the site(s), including set-backs, FAR, the specification of height and other
         The full traffic and parking tudy is included in the appendix.                                                                                     	   similar restrictions or limitations.

                                                                                                                                                            The Washington Park site sits on land zoned for two uses. The portion of the Washington Park site falling into
         vi. Estimate parking needs for both personal vehicles and tour buses, and any existing proposed availability                                       Washington Park itself is zoned in the Parks and Open Space District of the Chicago Zoning Ordinance and carries a
         	 for vehicles and buses in the surrounding area.                                                                                                  “POS-1” designation. The portion of the site lying west of South Dr. Martin Luther King Jr. Drive, north of East Garfield
                                                                                                                                                            Boulevard, east of South Calumet Avenue, and south of East 54th Street is zoned Residential Single-Use District-3
         Sam Schwartz Engineering estimates that the site would generate a parking demand of 404 spaces on the 30th                                         (“RS-3”).
         highest visitor day of the year (typical design day). They recommend all visitor parking be provided on the portion of
         the site located on the northwest corner of the intersection of Garfield Boulevard and Dr. Martin Luther King Jr. Drive,
         with access from Prairie Avenue and/or 54th Street. Access should be prohibited on Garfield Boulevard to create a                                  x. Analysis as to whether the Project is permitted under current zoning. If not, provide a detailed explanation
         direct pedestrian connection between the site and the CTA Green Line station at Garfield.                                                          	 of rezoning process and timing.

         The report outlines a number of options to accommodate overflow parking for special events, including the parking                                  As outlined in the overview of the parkland development process, City zoning ordinances allow for the construction of
         garages that serve University of Chicago Medicine and Harper Court on 53rd Street.                                                                 museums and libraries on City parkland, subject to certain reviews. The University of Chicago is in active discussions
                                                                                                                                                            with the City of Chicago, the Chicago Park District, and the Foundation on these issues.
         Sam Schwartz Engineering also estimates a bus demand of five buses on the 30th highest visitor day of the year. They
         recommend staging buses on Ellsworth Drive or on the portion of the site located on the northwest corner of the                                    The RS-3 zoning district, which applies to the portion of the site that is not on parkland, also allows for the construction
         intersection of Garfield Boulevard and Dr. Martin Luther King Jr. Drive.                                                                           of libraries and museums.


         The full traffic and parking tudy is included in the appendix.



         vii. Explanation of tax status of each site. If site is currently tax exempt, specify the basis for tax exempt status.
         	 If a site is taxable, specify the taxes imposed.

         The portion of the Washington Park site located in the park and owned by the Chicago Park District is tax exempt. The
         Park District land is entitled to exemption under Section 15-105 of the Illinois Property Tax Code, which provides for a
         property tax exemption for all property owned by the Chicago Park District.


         On the block bounded by East 54th Street on the north, East Garfield Boulevard on the south, South Calumet Avenue
         on the west, and South Dr. Martin Luther King Jr. Drive on the east, one parcel is owned by the City of Chicago and is
         tax exempt, as the property tax code explicitly permits exemption for properties owned by any municipality located
         within that municipality’s limits. The streets and alleys on that block are also tax exempt. The remaining portion of
         that block, owned by entities controlled by the University of Chicago, is currently subject to property taxation, with
         an approximate composite annual property tax liability of $52,000 based on payments made in 2014. These property
         taxes arise from the levies of a variety of local taxing bodies, including the City of Chicago, the Chicago Board of
         Education, Cook County, and the Chicago Park District.




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         xi. Assessment of public transportation alternatives serving the site(s) as well as any recommendations for                                        Washington Park site public transportation alternatives
         	 improvement, if necessary, to support the proposed development. Assessment should include transit time
                                                                                                                                                                                                                                                                       Distance from the Loop
         	 by vehicle, bus rapid transit, train, boat, bike, etc., from central downtown location in your city.                                             Car
                                                                                                                                                            The Dan Ryan Expressway (I90/I94) provides an exit at Garfield Boulevard, one mile from the site.              15 minutes
                                                                                                                                                            The Chicago Skyway leads to the Dan Ryan Expressway; alternatively its Stony Island Avenue exit is
                                                                                                                                                            just over four miles from the site. Lake Shore Drive allows access from the north and south; its 51st
                                                                                                                                                            Street and 57th Street exits are both just over two miles away.


                                                                                                                                                            Train
                                                                                                                                                            A CTA Green Line station is adjacent to the site, while a CTA Red Line station is less than a mile away.       17 minutes

                                                                                                                                                            City Bus
                                                                                                                                                            The site is served by multiple CTA bus routes, including routes 3 and 4 from downtown Chicago and              30 minutes
                                                                                                                                                            route 55 from Midway Airport, all of which have stops adjacent to the site.


                                                                                                                                                            Bike
                                                                                                                                                            Chicago’s Divvy bike-sharing program has a docking station within 100 yards of the proposed site and           45 minutes
                                                                                                                                                            has ongoing plans to increase the number of stations and bikes on the South Side.

                                                                                                                                                            The Lakefront Path is less than two miles away and allows access from downtown Chicago
                                                                                                                                                            approximately seven miles away. The Lakefront Trail is linked to the site through a bike lane on 55th
                                                                                                                                                            Street, neighborhood streets, and park paths after crossing Lake Shore Drive via underpasses.




                                                                                                                                                            Recommendations to improve the accessibility of the Washington Park site:

                                                                                                                                                            Train
                                                                                                                                                            There are three CTA “L” stations in close proximity to the Washington Park site that could be improved. The City of
                                                                                                                                                            Chicago could also rename the closest station—the Green Line station at Garfield Boulevard—the Barack Obama
                                                                                                                                                            Presidential Center station to make it immediately recognizable to visitors. CTA could increase the frequency of the
                                                                                                                                                            Green and Red Lines to improve access to the site. Additionally, a Metra rail line runs south from downtown Chicago,
                                                                                                                                                            through the site area on Garfield Boulevard and out to the Chicago suburbs. A station could be added to this line,
                                                                                                                                                            making the site more accessible to suburban visitors. Clearly marked pedestrian routes could connect nearby stations
                                                                                                                                                            to the Presidential Center.


                                                                                                                                                            Bus
                                                                                                                                                            A shuttle between Museum Campus South institutions was successfully piloted in August 2014. This shuttle could
                                                                                                                                                            become a permanent bus route. Routes connecting the Washington Park site to major commercial areas, including 53rd
                                                                                                                                                            Street, could be increased. Smart technology at nearby bus stops and shelters could provide visitors more information
                                                                                                                                                            about wait times and better accommodate times of high traffic. Bus Rapid Transit lines on Garfield Boulevard could
                                                                                                                                                            connect the site to Midway International Airport six miles to the west and Lake Michigan two miles to the east.


                                                                                                                                                            Bike
                                                                                                                                                            The City could implement new bike lanes linking the site to downtown and to the other major cultural institutions in the
                                                                                                                                                            area. New Divvy bike-share stations could be built near the site.




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   2. Detailed proposed process to obtain control of the site and convey it to the Foundation.                                                           3. Affirmation that the proposed site(s) will meet NARA’s Architectural and Design Standards, as revised in July, 2014,
                                                                                                                                                         	 related to site conditions. A copy of such standards will be emailed to you and concurrently posted on the website.
        As outlined in the overview of the parkland development process, the Foundation will make an agreement, either
        directly or jointly with the National Archives and Records Administration, with the Park District to develop portion                                  Skidmore, Owings & Merrill has reviewed the proposed site and confirmed that it is consistent with NARA’s
        of the site located on Chicago Park District property. The University will assist in this process if requested. Securing                              Architectural and Design Standards. The firm has outlined details below:
        approval to develop the part of the site in Washington Park will take about 60 days following issuance of a preliminary
        design for the Barack Obama Presidential Center.
                                                                                                                                                              Part 2 Program Requirements/Adjacencies
        The University of Chicago is in active conversation with the City of Chicago and the Foundation regarding the transfer
                                                                                                                                                                          Location of Space
        of the part of the site not located on parkland to the Foundation. It is expected that any required City and CTA land
                                                                                                                                                                          •	The Washington Park site comprises two adjacent pieces of land, one on the city grid and the other
        transfer approvals can also occur within the 60-day time frame.
                                                                                                                                                                            within Washington Park. Each section of the site provides enough land to hold the required program
                                                                                                                                                                            components.



                                                                                                                                                              Part 3 Specific Standards

                                                                                                                                                                          Federal Sustainability/Climate Change Adaptation and LEED Requirements
                                                                                                                                                                          •	Because of the urban infill nature of the site, adjacent uses, and proximity to public transit, the
                                                                                                                                                                            Washington Park site is able to achieve many LEED points in the Sustainable Sites category improving
                                                                                                                                                                            the overall target of a LEED-platinum building requirement.


                                                                                                                                                                          Siting Requirements
                                                                                                                                                                          •	Embedded in the South Side community, the site is pedestrian friendly, near existing employment
                                                                                                                                                                            centers, and directly adjacent to a CTA Green Line station and multiple CTA bus routes.
                                                                                                                                                                          •	The site area provides enough land area for the building and access, service, parking, and loading areas.


                                                                                                                                                                          Parking/Public Access
                                                                                                                                                                          •	The site area provides available land to accommodate the required parking and bus drop-off spaces.
                                                                                                                                                                            With the adjacency of the CTA Garfield Boulevard Green Line station, the site provides the potential for a
                                                                                                                                                                            fully integrated multi-modal transit facility adjacent to the building and allows unscreened visitor parking
                                                                                                                                                                            to be located separately from the facility on the site.


                                                                                                                                                                          Emergency Vehicle Access
                                                                                                                                                                          •	The Washington Park site is adjacent to an extensive city road network including Garfield Boulevard
                                                                                                                                                                            that leads directly to the Dan Ryan Expressway, allowing easy access and egress in the event of an
                                                                                                                                                                            emergency.


                                                                                                                                                                          Site Utilities
                                                                                                                                                                          •	As an urban site, the dependable, existing City of Chicago utility services including water supply, sanitary
                                                                                                                                                                            sewer, stormwater systems, electric power supply, telephone, and information technology access are all
                                                                                                                                                                            available on the site today.


                                                                                                                                                                          Exclusive Security Stand-off Zone
                                                                                                                                                                          •	The exclusive security stand-off (buffer) zone of at least 100 feet around all portions of the building,
                                                                                                                                                                            including a buffer zone from the CTA Green Line, can be accommodated on the site. The urban grid site
                                                                                                                                                                            provides a development zone of 3.6 acres and the Washington Park site provides a development zone of
                                                                                                                                                                            13.1 acres.
                                                                                                                                                                          •	With the closure of Ellsworth Drive in Washington Park, the site area has the potential to be increased to
                                                                                                                                                                            the east.




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   4. Analysis of site-specific development risks and identified mitigation plans.

         Site-specific development risks and mitigation plans are outlined in B.1.1.iv.



   5. Summary of other specific characteristics of the site(s) or immediately adjacent property that will benefit
   	 or hinder the construction, development or operation of the project.

         Other than what has been outlined above, there are no additional physical characteristics of the site or adjacent
         property that will benefit or hinder construction, development, and operation of the Barack Obama Presidential
         Center at the Washington Park site.


         The University of Chicago has significant experience working with the communities around the proposed sites to
         ensure that its major capital projects reflect community input and yield economic and social benefits that grow
         the local economy. It will bring this experience to bear in working with the Barack Obama Foundation. Working
         with a coalition of local aldermen, community stakeholder groups, and broader South Side residents to identify
         community priorities, the University can partner with this coalition to help create a set of site-specific strategies
         that ensure that the development of the Presidential Center generates economic, social, and environmental
         benefits for local residents.



   6. Projected timeline listing activities and timeframes required to plan, design, develop and open the Project.

        As outlined in the overview of the parkland development process, securing approval to develop the land in Washington
        Park will take about 60 days following issuance of a preliminary design for the Barack Obama Presidential Center. It is
        expected that any required City and CTA land transfer approvals for the portion of the site that is not in the park can
        also occur within the 60-day time frame.




                                                                                                                                                                                     WOODL AWN
        Most presidential libraries have taken about four to five years to plan, develop, and open. If the timeline for the Barack
        Obama Presidential Center is similar to that of the George W. Bush Presidential Center and the William J. Clinton
        Presidential Center, the Barack Obama Presidential Center could expect an opening in early to mid-2021.




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